Case 2:11-cr-20752-SFC-RSW ECF No. 327, PageID.1628 Filed 03/12/13 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

United States of America,

       Plaintiff,

v.                                                   Case No. 11-20752

D-1, Orlando Gordon, et al.,                         Honorable Sean F. Cox

      Defendant.
_________________________________/

  ORDER DENYING DEFENDANT GORDON’S MOTION FOR RECONSIDERATION
     OF OPINION & ORDER DENYING MOTION FOR DISQUALIFICATION
                      (DOCKET ENTRY NO. 326)

       On February 25, 2013, this Court issued an Opinion & Order Denying Defendant

Orlando Gordon’s Motion for Disqualification. On March 11, 2013, Defendant Gordon filed a

motion seeking reconsideration. (Docket Entry No 325).

       Motions for reconsideration are governed by Local Rule 7.1(h). Local Rule 7.1(h)

provides the following standard regarding motions for rehearing or reconsideration:

       Generally, and without restricting the court’s discretion, the court will not grant
       motions for rehearing or reconsideration that merely present the same issues ruled
       upon by the court, either expressly or by reasonable implication. The movant
       must not only demonstrate a palpable defect by which the court and the parties
       have been misled but also show that correcting the defect will result in a different
       disposition of the case.

L.R. 7.1(h)(3).

       In denying Defendant Gordon’s motion for disqualification, this Court found the affidavit

that Defendant Gordon submitted in support of his motion legally insufficient. In his Motion for

Reconsideration, Defendant Gordon asserts that because Henderson v. Department of Public


                                                1
Case 2:11-cr-20752-SFC-RSW ECF No. 327, PageID.1629 Filed 03/12/13 Page 2 of 3




Safety and Corrections, 901 F.2d 1288 (5th Cir. 1990), which found that an affidavit simply

attesting to the contents of a motion to recuse is legally insufficient, is not a decision from the

Sixth Circuit it is not controlling. Defendant Gordon contends that “[n]one of the Sixth Circuit

cases cited by this Court state that there is any problem” with an affidavit that simply

incorporates allegations in a motion. (Def.’s Br. at 3).

        While Henderson is not controlling, this Court finds it very persuasive. This is especially

so given that the recusal statute itself expressly requires that the “affidavit shall state the facts

and the reasons for the belief that bias or prejudice exists.” 28 U.S.C. § 144 (emphasis added).

This Court continues to believe that the affidavit submitted by Defendant Gordon is legally

insufficient.

        In his motion, Defendant Gordon also states, “in order to make sure the record is

perfected for review by the U.S. Court of Appeals for the Sixth Circuit,” he is now submitting

another affidavit and another affidavit from his counsel. (Def.’s Br. at 3). Section 144 expressly

states, however, that a party seeking recusal “may file only one such affidavit in any case.” 28

U.S.C. § 144. By submitting additional affidavits in the context of a Motion for

Reconsideration, Defendant Gordon is improperly attempting to expand the record and

circumvent the express provisions of Section 144. This is not a basis for reconsideration of the

Court’s ruling.

        Defendant Gordon also continues to argue that this Court was required to have another

judge review his motion. He argues that the Sixth Circuit’s decision in Easley v. University of

Michigan Bd. of Regents, 853 F.2d 1351, 1355 (6th Cir. 1988), which states otherwise, “is an

erroneous construction of a plainly written federal statute.” (Def.’s Br. at 3). This argument


                                                   2
Case 2:11-cr-20752-SFC-RSW ECF No. 327, PageID.1630 Filed 03/12/13 Page 3 of 3




provides no basis for reconsideration of this Court’s ruling; this Court is bound to follow Sixth

Circuit authority.

       In conclusion, having considered Defendant Gordon’s Motion for Reconsideration, the

Court finds no basis for reconsideration of its rulings. Accordingly, IT IS ORDERED that

Defendant Gordon’s Motion for Reconsideration (Docket Entry No. 326) is DENIED.

       IT IS SO ORDERED.

                                              S/Sean F. Cox
                                              Sean F. Cox
                                              United States District Judge

Dated: March 12, 2013

I hereby certify that a copy of the foregoing document was served upon counsel of record on
March 12, 2013, by electronic and/or ordinary mail.

                              S/Jennifer McCoy
                              Case Manager




                                                 3
